Case 2:12-cr-00398-SDW Document 13 Filed 10/01/12 Page 1 of 9 PagelD: 44
iat aes U.S. Department of Justice

 
 

United States Attorney
District of New Jersey

 

970 Broad Street, Suite 700 973/645-2700
Newark, NJ 07102

MET/PL AGR
2012R00441

September 27, 2012

VIA U.S. and Electronic Mail
Alexander W. Booth, Esq.

Law Office of Alexander W. Booth
145 Gifford Avenue.

Jersey City, NJ 07304

 

Re: Plea Agreement with Davione Warren

Dear Mr. Booth:

This letter sets forth the plea agreement between your
client, Davione Warren, and the United States Attorney for the
District of New Jersey (“this Office”). This plea agreement will
expire on October 15, 2012.

Charge

Conditicned on the understandings specified below, this
Office will accept a guilty plea from Davione Warren to Count Two
of the Indictment, which charges him with the possession of a
firearm in furtherance of a drug trafficking crime, in violation
of 18 U.S.C. § 924(c)(1) (A). If Davione Warren enters a guilty
plea and is sentenced on these charges, and otherwise fully
complies with all of the terms of this agreement, this Office
will not initiate any further criminal charges against Davione
Warren for his involvement in the conspiracy to distribute and
possess with intert to distribute heroin on or about January 12,
2012. In additior, if Davione Warren fully complies with all of
the terms of this agreement, at the time of sentencing in this
matter, this Office will move to dismiss Counts One and Three of
the Indictment, Criminal No. 12-cr-398 (SDW), against Davione
Warren. However, in the event that a guilty plea in this matter
is not entered for any reason or the judgment of conviction
entered as a result of this guilty plea does not remain in full
force and effect, Davione Warren agrees that any dismissed
charges and any other charges that are not time-barred by the
applicable statute of limitations on the date this agreement is
signed by Davione Warren may be commenced against him,
Case 2:12-cr-00398-SDW Document 13 Filed 10/01/12 Page 2 of 9 PagelD: 45

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notwithstanding the expiration of the limitations period after
Davione Warren signs the agreement.

Sentencing

As to Count Two, the violation of 18 U.S.C. §&
924(c) (1) (A), to waich Davione Warren agrees to plead guilty,
carries a statutory minimum prison sentence of 5 years, anda
statutory maximum Fine equal to the greatest of: (1) $250,000;
or (2) twice the gross amount of any pecuniary gain that any
persons derived from the offense.

The sentance to be imposed upon Davione Warren is
within the sole discretion of the sentencing judge, subject to
the provisions of the Sentencing Reform Act, 18 U.S.C. § 3551-
3742, and the sentencing judge’s consideration of the United
States Sentencing 3uidelines. The United States Sentencing
Guidelines are advisory, not mandatory. The sentencing judge may
impose any reasonable sentence up to and including the statutory
maximum term of imprisonment and the maximum statutory fine.

This Office cannot and does not make any representation or
promise as to what guideline range may be found by the sentencing
judge, or as to what sentence Davione Warren ultimately will
receive.

Further, in addition to imposing any other penalty on
Davione Warren, the sentencing judge: (1) will order Davione
Warren to pay an assessment of $100 pursuant to 18 U.S.C. § 3013,
which assessment must be paid by the date of sentencing; (2) may
order Davione Warren, pursuant to 18 U.S.C. § 3555, to give
notice to any victims of his offense; (3) must order forfeiture,
pursuant to 18 U.S.C. § 924(d) (1) and 21 U.S.C. § 853; (4) may
deny Davione Warren certain statutorily defined benefits,
pursuant to 21 U.S.C. § 862a; and (5) pursuant to 18 U.S.C. §
3583, may require Davione Warren to serve a term of supervised
release of not more than five (5) years, which will begin at the
expiration of any term of imprisonment imposed. Should Davione
Warren be placed on a term of supervised release and subsequently
violate any of the conditions of supervised release before the
expiration of its term, Davione Warren may be sentenced to not
more than five (5) years’ imprisonment in addition to any prison
term previously imposed, regardless of the statutory maximum term
of imprisonment set forth above and without credit for time
previously served on post-release supervision, and may be
sentenced to an additional term of supervised release.
Case 2:12-cr-00398-SDW Document 13 Filed 10/01/12 Page 3 of 9 PagelD: 46

Rights of This Office Regarding Sentencing

Except as otherwise provided in this agreement, this
Office reserves its right to take any position with respect to
the appropriate sentence to be imposed on Davione Warren by the
sentencing judge, =o correct any misstatements relating to the
sentencing proceedings, and to provide the sentencing judge and
the United States Probation Office all law and information
relevant to sentencing, favorable or otherwise. In addition,
this Office may inform the sentencing judge and the United States
Probation Office of: (1) this agreement; and (2) the full nature
and extent of Davione Warren’s activities and relevant conduct
with respect to this case.

Stipulations

This Office and Davione Warren agree to stipulate at
sentencing to the statements set forth in the attached Schedule
A, which is hereby made a part of this plea agreement. This
agreement to stipulate, however, cannot and does not bind the
sentencing judge, who may make independent factual findings and
May reject any or all of the stipulations entered into by the
parties. To the extent that the parties do not stipulate to a
particular fact or legal conclusion, each reserves the right to
argue the existence of and the effect of any such fact or
conclusion upon the sentence. Moreover, this agreement to
stipulate on the part of this Office is based on the information
and evidence that this Office possesses as of the date of this
agreement. Thus, if this Office obtains or receives additional
evidence or information prior to sentencing that it determines to
be credible and to be materially in conflict with any stipulation
in the attached Schedule A, this Office shall not be bound by any
such stipulation. A determination that any stipulation is not
binding shall not release either this Office or Davione Warren
from any other portion of this agreement, including any other
stipulation. If the sentencing court rejects a stipulation, both
parties reserve the right to argue on appeal or at post-
sentencing proceedings that the sentencing court was within its
discretion and authority to do so. These stipulations do not
restrict the Government’s right to respond to questions from the
Court and to correct misinformation that has been provided to the
Court.

Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A, this Office and Davione
Warren waive certain rights to file an appeal, collateral attack,
Case 2:12-cr-00398-SDW Document 13 Filed 10/01/12 Page 4 of 9 PagelD: 47

writ, or motion after sentencing, including but not limited to an
appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255.

Forfeiture and Abandonment

 

Davione Warren consents and agrees to forfeit and
abandon to federal, state, and/or local law enforcement all
rights, title and interest in: the 9 mm Jimenez Arms Inc.
semi-automatic piszol, bearing serial # 169671, which was loaded
with nine R.P. 9 mm caliber Luger bullets; the .25 caliber Raven
Arms semi-automatiz pistol, bearing serial # 1751759, which was
loaded with seven .25 automatic bullets; and the .357 Wesson Arms
revolver, bearing serial # 250961, which was loaded with five S&B
.357 magnum bullets and one CBC .38 SPL bullet, recovered in his
home following his arrest on or about January 12, 2012.

Davione Warren waives all challenges of any kind to the
forfeiture and abandonment of the firearms and ammunition by
federal, state, and/or local law enforcement. Davione Warren
further waives any additional notice requirement in connection
with the forfeiture and abandonment of the firearms and
ammunition and consents to the destruction of the forfeited and
abandoned firearms and ammunition at the discretion of federal,
state, and/or local law enforcement.

Davione Warren agrees that, as part of his acceptance
of responsibility and pursuant to 21 U.S.C. § 853, Davione Warren
will forfeit to the United States approximately $780.00 in United
States currency that was seized on or about January 12, 2012
(hereinafter the “Forfeitable Property”).

The defendant further agrees to waive all interest in
the Forfeitable Property in any administrative or judicial
forfeiture proceeding, whether criminal or civil, state or
federal. The defendant agrees to consent to the entry of orders
of forfeiture for the Forfeitable Property and waives the
requirements of Rules 32.2 and 43(a) of the Federal Rules of
Criminal Procedure regarding notice of the forfeiture in the
charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment.
Defendant understands that the forfeiture of assets is part of
the sentence that may be imposed in this case and waives any
failure by the court to advise him of this pursuant to Rule
11(b) (1) (J) of the Federal Rules of Criminal Procedure at the
guilty plea proceeding.
Case 2:12-cr-00398-SDW Document 13 Filed 10/01/12 Page 5 of 9 PagelD: 48

Davione Warren hereby waives any and all claims that
this forfeiture constitutes an excessive fine and agrees that
this forfeiture does not violate the Eighth Amendment.

Immigration Consequences

The defendant understands that, if he is not a citizen
of the United States, his guilty plea to the charged offense will
likely result in his being subject to immigration proceedings and
removed from the United States by making him deportable,
excludable, or inadmissible, or ending his naturalization. The
defendant understands that the immigration consequences of this
plea will be imposed in a separate proceeding before the
immigration authorities. The defendant wants and agrees to plead
guilty to the charjed offense regardless of any immigration
consequences of this plea, even if this plea will cause his
removal from the United States. The defendant understands that
he is bound by his guilty plea regardless of any immigration
consequences of the plea. Accordingly, the defendant waives any
and all challenges to his guilty plea and to his sentence based
on any immigration consequences, and agrees not to seek to
withdraw his guilty plea, or to file a direct appeal or any kind
of collateral attack challenging his guilty plea, conviction, or
sentence, based om any immigration consequences of his guilty
plea.

Other Provisions

 

This agreement is limited to the United States
Attorney’s Office for the District of New Jersey and cannot bind
other federal, state, or local authorities. However, this Office
will bring this agreement to the attention of other prosecuting
offices, if requested to do so.

This agreement was reached without regard to any civil
or administrative matters that may be pending or commenced in the
future against Davione Warren. This agreement does not prohibit
the United States, any agency thereof (including the Internal
Revenue Service), or any third party from initiating or
prosecuting any civil or administrative proceeding against
Davione Warren.
Case 2:12-cr-00398-SDW Document 13 Filed 10/01/12 Page 6 of 9 PagelD: 49

No Other Promises

This agreement constitutes the plea agreement between
Davione Warren and this Office and supersedes any previous
agreements between them. No additional promises, agreements, or
conditions have been made or will be made unless set forth in
writing and signed by the parties.

Very truly yours,

PAUL J. FISHMAN
United States Attorney

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CHiay ¢ J bien
By: Mary E. Toscano

Assistant U.S. Attorney

APPROVED:

LON (:
LL. 3 Co

And+éw Carey

Chief, OCDETF/Narcotics Unit
Case 2:12-cr-00398-SDW Document 13 Filed 10/01/12 Page 7 of 9 PagelD: 50

I have received this letter from my attorney, Alexander
W. Booth, Esq. I have read it. My attorney and I have discussed
it and all of its provisions, including those addressing the
charge, sentencing, stipulations, waiver, forfeiture, and
immigration consequences. I understand this letter fully. I
hereby accept its terms and conditions and acknowledge that it
constitutes the plea agreement between the parties. I understand
that no additional promises, agreements, or conditions have been
made or will be made unless set forth in writing and signed by
the parties. I want to plead guilty pursuant to this plea
agreement.

AGREED AND ACCEPTED:

Sas Date: jo) [>

Davione Warren

I have discussed with my client this plea agreement and
all of its provisions, including those addressing the charge(s),
sentencing, stipulations, waiver, forfeiture, and immigration
consequences. My client understands this plea agreement fully
and wants to plead guilty pursuant to it.

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Alexander W. Booth, Esq.

 
Case 2:12-cr-00398-SDW Document 13 Filed 10/01/12 Page 8 of 9 PagelD: 51

Plea Agreement With Davione Warren
Schedule A

1. This Office and Davione Warren recognize that the
United States Sentencing Guidelines are not binding upon the
Court. This Office and Davione Warren nevertheless agree to the
stipulations set forth herein, and agree that the Court should
sentence Davione Warren within the Guidelines range that results
from the total Guidelines offense level set forth below. This
Office and Davione Warren further agree that neither party will
argue for the imposition of a sentence outside the Guidelines
range that results from the agreed total Guidelines offense
level.

2. The version of the United States Sentencing
Guidelines effective November 1, 2011 applies in this case.

3. The applicable guideline is U.S.S.G. § 2K2.4(b).
Therefore, the guideline sentence is the minimum term of
imprisonment required by statute (18 U.S.C. § 924(c)), which is
60 months.

4. The parties agree not to seek or argue for any
upward or downward departure, adjustment or variance not set
forth herein. The parties further agree that the guidelines
sentence of 60 months is reasonable.

5. Davione Warren knows that he has and, except as
noted below in this paragraph, voluntarily waives, the right to
file any appeal, any collateral attack, or any other writ or
motion, including but not limited to an appeal under 18 U.S.C. §
3742 or a motion umder 28 U.S.C. § 2255, which challenges the
sentence imposed by the sentencing court if that sentence falls
within or below the Guidelines range that results from the agreed
upon Guidelines sentence of 60 months. This Office will not file
any appeal, motion, or writ which challenges the sentence imposed
by the sentencing court if that sentence falls within or above
the Guidelines range that results from the agreed upon Guidelines
sentence of 60 months. The parties reserve any right they may
have under 18 U.S.C. § 3742 to appeal the sentencing court’s
determination of the criminal history category. The provisions
of this paragraph are binding on the parties even if the Court
employs a Guidelines analysis different from that stipulated to
herein. Furthermore, if the sentencing court accepts a
stipulation, both parties waive the right to file an appeal,
collateral attack, writ, or motion claiming that the sentencing
court erred in doing so.

 
Case 2:12-cr-00398-SDW Document 13 Filed 10/01/12 Page 9 of 9 PagelD: 52

6. Both parties reserve the right to oppose or move to
dismiss any appeal, collateral attack, writ, or motion barred by
the preceding paragraph and to file or to oppose any appeal,
collateral attack, writ, or motion not barred by the preceding

paragraph.
